239 F.2d 648
    William E. HOWELLv.C. H. LOONEY, Warden, U. S. Penitentiary, Leavenworth, Kansas.
    No. 5397.
    United States Court of Appeals Tenth Circuit.
    September 5, 1956.
    
      Appeal from the United States District Court for the District of Kansas.
      No attorney for appellant.
      William C. Farmer, U. S. Atty., Topeka, Kan., and Milton P. Beach, Asst. U. S. Atty., Kansas City, Kan., for appellee.
      Before BRATTON, Chief Judge, and PHILLIPS and LEWIS, Circuit Judges.
    
    
      1
      Affirmed without written opinion.
    
    